CaSe:lS-lOQGB-TB|\/| DOC#233 Filed:OS/O?/J_S Entered:OS/O?/J_S 10237215 Pagel Of2

Fi|| in thiS information to identity the Case:

Debtor name 11380 SNIITH RD LLC

 

Uniled States Bankruptcy Court for ths: DtSTRlC`l' OF COLORADO

 

Case number iii known) 13.10965 TBM

 

I Check iflhls is an
amended liiing

 

 

Officia| Form 206E/F
Schedu|e ElF: Creditors Who Have Unsecured C|aims rzris

M
Be as complete and accurate as poeeibts. Lise Part 1 for creditors with PR|OR|TY unsecured claims and Part 2 for creditors with NDNPRIOR|TY unsecured claims.
L|st the other party to any executory contracts or unexpired leases that could result in a c|a|m. Aiso list executory contracts on Scl'radi.ite A!B: A.sse‘ts - Rsai and
Parsonal Properly {Olficlal Form ZBeNB] and on Scl'iedr.ile G: Exscutory Contractc and Unexpired l.eases tOtlictal Form 2086}. Numbar tha entries In Perle 1 and
2 in the belies on the lelt. il more space is needed for Part 1 or Part 2, fill out and attach the Addtticnsl Page ot that Part included in this fon‘n.

Llst A|l Creditors with PR|ORITY Unsecured Claima

1. Do any creditors haire priority unsecured claima? (See 11 U,S.C. § 50?).
El No. Go id Pari 2.

l Yos. Ge to line 2.

2. L|st ln alphabetical order all creditors who have unsecured claims that are entitled to i',\i‘lorii»,ir in whole or in part if the debtor has more than 3 creditors
with priority unsecured claims, li|t out and attach the Additionsl Psge ol Parl 1.

 

 

 

Total claim Prlor|ty amount

|:| Prioriiy creditors name arrd mailing address As ei ina petition mine daie. tire claim is: $56,752.38 $56,752.38

Adan'is County Treasurer Che¢-‘¢ lift therewith

Brlgitte Grimm, Treasurer D Ceetil'la€nt

4430 S. Adarns County Pkwy |It unliquidated

Brlghton, CO 80601 Ct oisprried

Date er dates debt was incurred Basis for llie claim:

2017 Real property taxes due in Aprt| 2018

Last 4 digits ol account number ls the claim subject to onse\?

Specify Code subsection of PR|ORITY l m

unsecured claim: 11 U.S.C. § 50?(a) {§) n y
es

 

usi mi creditors with Noiii=nionmr unsecured cisirrrs
3. List ln alphabetical order sit ol' the creditors with nonpriority unsecured claims. lillie debtor has more than 5 uadiicrs with nonpriority unsecured cialms. li||
out and attach the Addtt|ona| i'-‘age et Parl 2.

 

 

 

An'icunt el claim

]:| Nonpr|orlty creditors name and mailing address Aa el the petition lil|ng dats, the claim ls: check air inst apply $1!200,000.00

Hanzet, Tim Ci Ceniingeni

1 510 Jade Road Ei unliquidated

columbia, Mo 65201 n DBputed

hamm debt was l“°urr°d - Basls for the clalm: Loai"l

Last 4 digits of account number _

is iire disi¢rr subiooir.o dusen l rio El res

|E Nonprlorlty creditors name end malllng address As oithe petillon lillng date, the claim ls: cheeirarrhei ew. Unknown

Owners insurance Com pany l comment

Divisiori of lnsurance l _

1560 Broadway U"'m'dated

bemrer, co sozez l concise

material debt was incurred §§17 Basls fertile ctelrri: Attorne!'s fees and ex@nsss

Laatd digits of account numbsr_ la me claim subth M l No n Yes
Of&c|e| Fonn ZOBE.FF Schadule ElF: Crsditors Who Haira Unsecured Clain‘le page 1 o|' 2

Sol’twm'e Copyright [l.‘.') 13%-201? east CBM, LLC -\¢rw.basticaos_corn 51589 Be!t Caso Bsi'ikr\lpil?y

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DBblOr 11380 SMITH RD LLC

 

N.I"le
|E licnpriorily creditor's name end mailing address
Xcel Etttirgyr E| contingent
P.O. BOX 9477 n Untiqu|daled
Minneapo|ls, MN 55484-9477 |:| D;spu¢ed

Datelsi debt was incurred Mber 2211
Last 4 digits of account number 641 3

 

Casc number (ri ucwn) 18-10965 TBM

Besie for the ciaim: U `l

As ot the petition lilth date, the claim ls: cnsclr assist apa‘y.

is lite claim suhieetto desert l l~lo El res

$32,000.00

 

m colors tro Be llolllied About unsecured claims

4. L|stin alphabetical older any others who meet be notified for claims listed in Parts 1 and 2. Ellampies cl entitles dial may be listed are collection aganciee.

assignees of claims listed above. and altomeys for unsecured creditors

lt no others need to be nelliied tor the debts listed ill Parte 1 and 2, dc not fill out or submit this page. ll additional pages are needed,copy the next pege.

Name and mailing address

4-1 Gregory Glcmetti, Esq.
cio Gregory R. Giomettt & Assoc.
50 South Steeie, #480
Den\rer, 00 80209

On which line ill Pert1 or Fart 2 is the
related creditor lit any} listed?

Line 3.2

any

i.'.I| itel ltsted. Ertplain_

LaBt 4 dlglta cl
account number, it

 

'Fol:al Amounts of the Pricriiy;nd Nollpriority Unsecured Cla|rns

5. Add the amounts of priority and neepriortly unsecured clelms.

es. Total claims from Paltl
eb. Tctal claims from Part 2

Sc. Total of Pelts 1 and 2
Llrles§a+ 5b= sc.

Otiicial Fon'n 208 ElF Sr.iledule ElF: Creditcrs \Nho iia\le Unsscured Clalrna

Soilware Copyrighi (c] 19%-201? Baat Casc. LLC - www.beetcase.com

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56 752.38`
1,232.000.00

 

 

1,288,752.33

 

 

 

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